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                                                      UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF VIRGINIA

                                                                         CHAPTER 13 PLAN
                                                                       AND RELATED MOTIONS

Name of Debtor(s):                    Dona Marie Dugal                                                        Case No:   07-33174


This plan, dated            September 14, 2007                 , is:

                                 the first Chapter 13 plan filed in this case.
                                 a modified plan, which replaces the plan dated                           .

                                 Date and Time of Modified Plan Confirming Hearing:

                                 Place of Modified Plan Confirmation Hearing:


                       The plan provisions modified by this filing are:


                       Creditors affected by this modification are:


NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any provision of this plan, or if you oppose any included motions to (i) value collateral, (ii) avoid
liens, or (iii) assume or reject unexpired leases or executory contracts, you MUST file a timely written
objection.

This plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be granted,
without further notice or hearing unless a written objection is filed not later than ten (10) days prior to
the date set for the confirmation hearing and the objecting party appears at the confirmation hearing.
The debtor(s)' schedules list assets and liabilities as follows:

          Total Assets: $16,450.00
          Total Non-Priority Unsecured Debt: $21,462.00
          Total Priority Debt: $0.00
          Total Secured Debt: $9,949.85




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1.         Funding of Plan. The debtor(s) propose to pay the trustee the sum of $125.00 Monthly for 42 months. Other payments
           to the Trustee are as follows: NONE . The total amount to be paid into the plan is $ 5,250.00 .

2.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

           A.           Administrative Claims under 11 U.S.C. § 1326.

                        1.            The Trustee will be paid 10% of all sums disbursed except for funds returned to the debtor(s).
                        2.            Debtor(s)' attorney will be paid $ 2,125.00 balance due of the total fee of $ 3,000.00 concurrently
                                      with or prior to the payments to remaining creditors.

           B.           Claims under 11 U.S.C. §507.
                        The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                        monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid prior to
                        other priority creditors but concurrently with administrative claims above:

Creditor                                          Type of Priority                                             Estimated Claim         Payment and Term
-NONE-


3.         Secured Creditors and Motions to Value Collateral.

          This paragraph provides for claims of creditors who hold debts that are secured by real or personal property of the debtors(s)
but (a) are not secured solely by the debtor(s)' principal residence and (b) do not have a remaining term longer than the length of this
plan.

           A.           Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of debts secured by
                        a purchase money security interest in a motor vehicle acquired for the personal use of the debtor for which the debt
                        was incurred within 910 days of the filing of the bankruptcy petition, or if the collateral for the debt is any other
                        thing of value, the debt was incurred within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the
                        Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based upon the
                        amount of the claim in column (d) with interest at the rate stated in column (e). Upon confirmation of the plan,
                        the interest rate shown below will be binding unless a timely written objection to confirmation is filed and
                        sustained by the Court. Payments distributed by the Trustee are subject to the availability of funds.

         (a)                             (b)                        (c)                           (d)            (e)                    (f)
       Creditor                       Collateral               Purchase Date                Est Claim Amt   Interest Rate Monthly Paymt& Estimate Term**
-NONE-


           B.           Claims to Which §506 Valuation is Applicable. Claims listed in this subsection consist of any claims secured by
                        personal property not described in Plan paragraph 3.A. After confirmation of the plan, the Trustee will pay to the
                        holder of each allowed secured claim the monthly payment in column (f) based upon the replacement value as
                        stated in column (d) or the amount of the claim, whichever is less, with interest at the rate stated in column (e).
                        The portion of any allowed claim that exceeds the value indicated below will be treated as an unsecured claim.
                        Upon confirmation of the plan, the valuation and interest rate shown below will be binding unless a timely
                        written objection to confirmation is filed and sustained by the Court. Payments distributed by the Trustee are
                        subject to the availability of funds.

         (a)                             (b)                        (c)             (d)             (e)                    (f)
       Creditor                       Collateral               Purchase Date Replacement Value Interest Rate Monthly Paymt& Estimate Term**
-NONE-




                                                                                                  Page 2

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** THE MONTHLY PAYMENT STATED HERE SHALL BE THE ADEQUATE PROTECTION PAYMENTS
PURSUANT TO 1326(a)(1)(C) TO THESE CREDITORS UNLESS OTHERWISE PROVIDED IN PARAGRAPH 11 OR BY
SEPARATE ORDER OF THE COURT.


           C.           Collateral to be surrendered. Upon confirmation of the plan, or before, the debtor will surrender his or her
                        interest in the collateral securing the claims of the following creditors in satisfaction of the secured portion of such
                        creditors' allowed claims. To the extent that the collateral does not satisfy the claim, any timely filed deficiency
                        claim to which the creditor is entitled shall be paid as a non-priority unsecured claim. The order confirming the
                        plan shall have the effect of terminating the automatic stay as to the collateral surrendered.

Creditor                                                   Collateral Description                               Estimated Total Claim    Full Satisfaction (Y/N)
-NONE-

4.         Unsecured Claims.

           A.           Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                        remaining after disbursement to allowed secured and priority claims. Estimated distribution is approximately
                           13 %. If this case were liquidated under Chapter 7, the debtor(s) estimate unsecured creditors would receive a
                        dividend of approximately 4.9 %.

           B.           Separately classified unsecured claims.

Creditor                                                            Basis for Classification                                                     Treatment
-NONE-

5.         Long Term Debts and claims Secured by the Debtor(s)' Primary Residence.

           Creditors listed below are either secured by the debtor(s)' principal residence or hold a debt the term of which extends
           beyond the term of this plan.

           A.           Debtor(s) to pay claim directly. The creditors listed below will be paid by the debtor(s) pursuant to the contract
                        without modification, except that arrearages, if any, will be paid by the Trustee either pro rata with other secured
                        claims or on a fixed monthly basis as indicated below.

                                                                                                      Regular                                            Monthly
                                                                                                     Contract   Estimated   Interest     Estimated      Arrearage
Creditor                                Collateral                                                   Payment    Arrearage     Rate      Cure Period      Payment
Wachovia Dealer Svc.                    2004 Honda Civic                                               317.00        0.00     0%        0 months

           B.           Trustee to pay the contract payments and the arrearages. The creditors listed below will be paid by the Trustee
                        the regular contract monthly payments during the term of this plan. The arrearage claims, if any, will be cured by
                        the Trustee by payments made either pro rata with other secured claims or by fixed monthly payments as indicated
                        below.

                                                                                                      Regular                                            Monthly
                                                                                                     Contract   Estimated Interest      Term for        Arrearage
Creditor                                Collateral                                                   Payment    Arrearage Rate          Arrearage        Payment
-NONE-

6.         Executory Contracts and Unexpired Leases. The debtor(s) move for assumption or rejection of the executory contracts
           and leases listed below.

           A.           Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                                     Type of Contract
-NONE-



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            B.           Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                         contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                         arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                         indicated below.

                                                                                                                                    Monthly
                                                                                                                                    Payment           Estimated
Creditor                                      Type of Contract                                                    Arrearage      for Arrears         Cure Period
-NONE-

7.          Motions to Avoid Liens.

            A.           The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                         judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a
                         written objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the
                         creditor's lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                         hearing.

Creditor                                      Collateral                                            Exemption Basis and Amount             Value of Collateral
-NONE-

            B.           Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                         will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                         the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                         here is for informational purposes only.

Creditor                                        Type of Lien                          Description of Collateral                  Basis for Avoidance
-NONE-

8.          Treatment of Claims.

            •            All creditors must timely file a proof of claim to receive payment from the Trustee.
            •            If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                         object to confirmation of the plan, the creditor may be treated as unsecured for purposes of distribution under the
                         plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or
                         provided for in this case, after the debtor(s) receive a discharge.
            •            If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                         creditor will be treated as unsecured for purposes of distribution under the plan.

9.          Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the plan.
            Notwithstanding such vesting, the debtor(s) may not sell, refinance, or encumber real property without approval of the
            court.

10.         Incurrence of indebtedness. During the term of the plan, the debtor(s) shall not voluntarily incur additional indebtedness
            in an amount exceeding $5,000 without approval of the court.

11.         Other provisions of this plan:




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Signatures:


Dated:        September 14, 2007


/s/ Dona Marie Dugal                                                                                      /s/ Richard O. Gates, Esq.
Dona Marie Dugal                                                                                          Richard O. Gates, Esq. 13857
Debtor                                                                                                    Debtor's Attorney


Exhibits:              Copy of Debtor(s)' Budget (Schedules I and J);
                       Matrix of Parties Served with plan


                                                                                Certificate of Service

         I certify that on            September 14, 2007                 , I mailed a copy of the foregoing to the creditors and parties in interest on the
attached Service List.


                                                                /s/ Richard O. Gates, Esq.
                                                                Richard O. Gates, Esq. 13857
                                                                Signature

                                                                P. O. Box 187
                                                                10030 Ironbridge Road
                                                                Chesterfield, VA 23832
                                                                Address

                                                                (804) 748-0382
                                                                Telephone No.



Ver. 06/28/06 [effective 09/01/06]




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  In re       Dona Marie Dugal                                                                        Case No.        07-33174
                                                                           Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                    DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                         AGE(S):
        Separated                              None.

 Employment:                                           DEBTOR                                                    SPOUSE
 Occupation                           administrative assistant
 Name of Employer                     Wilton Development
 How long employed                    3 weeks
 Address of Employer

 INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR                   SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                         $         2,916.68        $            N/A
 2. Estimate monthly overtime                                                                          $             0.00        $            N/A

 3. SUBTOTAL                                                                                           $         2,916.68        $            N/A

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                              $             641.72      $            N/A
     b. Insurance                                                                                      $               0.00      $            N/A
     c. Union dues                                                                                     $               0.00      $            N/A
     d. Other (Specify):                                                                               $               0.00      $            N/A
                                                                                                       $               0.00      $            N/A

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                     $             641.72      $            N/A

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                    $         2,274.96        $            N/A

 7. Regular income from operation of business or profession or farm (Attach detailed statement)        $               0.00      $            N/A
 8. Income from real property                                                                          $               0.00      $            N/A
 9. Interest and dividends                                                                             $               0.00      $            N/A
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use
      or that of dependents listed above                                                               $               0.00      $            N/A
 11. Social security or government assistance
 (Specify):                                                                                            $               0.00      $            N/A
                                                                                                       $               0.00      $            N/A
 12. Pension or retirement income                                                                      $               0.00      $            N/A
 13. Other monthly income
 (Specify):                                                                                            $               0.00      $            N/A
                                                                                                       $               0.00      $            N/A

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                    $               0.00      $            N/A

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                      $         2,274.96        $            N/A

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                     $             2,274.96
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                 (Report also on Summary of Schedules and, if applicable, on
                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this
 document:
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Official Form 6J (10/06)


 In re      Dona Marie Dugal                                                                 Case No.     07-33174
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
 1. Rent or home mortgage payment (include lot rented for mobile home)                                     $                  700.00
  a. Are real estate taxes included?                           Yes               No X
  b. Is property insurance included?                           Yes               No X
 2. Utilities:      a. Electricity and heating fuel                                                        $                    0.00
                    b. Water and sewer                                                                     $                    0.00
                    c. Telephone                                                                           $                    0.00
                    d. Other                                                                               $                    0.00
 3. Home maintenance (repairs and upkeep)                                                                  $                    0.00
 4. Food                                                                                                   $                  425.00
 5. Clothing                                                                                               $                   85.00
 6. Laundry and dry cleaning                                                                               $                   25.00
 7. Medical and dental expenses                                                                            $                   93.00
 8. Transportation (not including car payments)                                                            $                  175.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                       $                  125.00
 10. Charitable contributions                                                                              $                    0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                    a. Homeowner's or renter's                                                             $                    0.00
                    b. Life                                                                                $                    0.00
                    c. Health                                                                              $                    0.00
                    d. Auto                                                                                $                  115.00
                    e. Other                                                                               $                    0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) personal property                                                               $                   15.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
 plan)
                    a. Auto                                                                                $                  317.00
                    b. Other                                                                               $                    0.00
                    c. Other                                                                               $                    0.00
                    d. Other                                                                               $                    0.00
 14. Alimony, maintenance, and support paid to others                                                      $                    0.00
 15. Payments for support of additional dependents not living at your home                                 $                    0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)          $                    0.00
 17. Other cell phone                                                                                      $                   75.00
     Other                                                                                                 $                    0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules                       $                2,150.00
 and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
 following the filing of this document:

 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                      $                2,274.96
 b. Average monthly expenses from Line 18 above                                                            $                2,150.00
 c. Monthly net income (a. minus b.)                                                                       $                  124.96
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                        Capital One
                        P. O. Box 5155
                        Norcross, GA 30091


                        Carl M. Bates, Trustee
                        P. O. Box 1819
                        Richmond, VA 23218


                        Citibank (South Dakota) NA
                        Spotts Fain
                        411 E. Franklin St., #600
                        Richmond, VA 23219


                        Household Bank M/C
                        P. O. Box 17051
                        Baltimore, MD 21297


                        Juniper Card Services
                        P. O. Box 13337
                        Philadelphia, PA 19101


                        Office of the U.S. Trustee
                        600 E. Main Street, Suite 301
                        Richmond, VA 23219


                        Wachovia Bank
                        Attn: Bankruptcy Dept.
                        P. O. Box 13765
                        Roanoke, VA 24037


                        Wachovia Dealer Svc.
                        P. O. Box 25341
                        Santa Ana, CA 92799
